Case 2:OO-cV-02923-SH|\/|-egb Document 226 Filed 04/27/05 Page 1 of 4 Page|D 390

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IN THE UNITED sTATEs DIsTRICT CoURT
FOR THE WESTERN DIsTRICT OF TENNESSEEOS `;` 27 Pi'i . ~ q

WESTERN DIVISION

ROB&".~§?F 513 mg ’ ` §

EQUAL EMPLoYMENT ) v(@le_"B’F rul deliveries
oPPoRTUNITY COMMIssloN and )
CONSTANCE AMOS, )
)
Plaintiffs, )
)

v. ) No. 00-2923 Ma/An

)
AUTOZONE, INC., )
)
Defendant. )

 

ORDER GRANTING MOTION TO WITHDRAW MOTION
FOR PROTECTIVE ORDER

 

Bet`ore the Court is Plaintiff Equal Employment Opportunity Commission’s Motion to
Withdraw its Motion for Protective Order filed on October 25 , 2004. Plaintiff Equal
Employment Opportunity Commission (“EEOC”) filed a Motion for Protective Order on October
18, 2004, located at docket entry 193. The EEOC States that the parties have resolved this issue;
therefore, the Court concludes that the Motion for Protective Order should be removed from the
Court’s docket Therefore, for good cause shown, the Motion to Withdraw is GRANTED. The
Clerk of the Court shall remove docket entry 193 from the Court’s docket.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: Q/¢j 0?!/ ZOOJ/
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This notice confirms a copy of the document docketed as number 226 in
case 2:00-CV-02923 Was distributed by faX, mail, or direct printing on
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Honorable Sarnuel Mays
US DISTRICT COURT

